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February 5, 2021

VIA CM/ECF

The Honorable Sarah Netburn
United States Magistrate Judge
U.S. District Court for the
 Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square
New York, NY 10007

          Re:        The Phillies v. Harrison/Erickson, Inc., et al., C.A. No. 19-7239-VM-SN

Dear Judge Netburn:

       Pursuant to the Court’s January 25 order (Doc. 143), the parties met and conferred but
were unable to agree with regard to consenting to jurisdiction for the pending motions for
summary judgment.


                                                                    Respectfully,

                                                                    /s/ David J. Wolfsohn

                                                                    David J. Wolfsohn
DJW/kah
cc:  Paul D. Montclare, Esq.
     Leo M. Lichtman, Esq.
     Elaine Nguyen, Esq.
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